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Attorneys for Defendant




                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION

 A.M., an individual,                         Case No. 3:21-cv-01674-MO

                        Plaintiff,
                                              STIPULATED MOTION FOR ORDER
 v.                                           MODIFYING BRIEFING SCHEDULE
                                              ON DEFENDANT’S MOTION TO
                                              DISMISS THE SECOND AMENDED
                                              COMPLAINT
 OMEGLE.COM LLC,

                        Defendant.




STIPULATED MOTION RE BRIEFING ON MOTION
TO DISMISS SECOND AMENDED COMPLAINT
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       This Stipulation is entered into between Plaintiff A.M. and Defendant Omegle.com LLC,

through their undersigned counsel of record, and is based on the following facts:

       1.      On August 1, 2022, Plaintiff filed a Second Amended Complaint. (See Dkt. 43.)

       2.      Pursuant to FED. R. CIV. P. 15(a)(3), Omegle’s response to the Second Amended

Complaint is currently due August 15, 2022. Omegle intends to file a motion to dismiss

Plaintiff’s Second Amended Complaint pursuant to FED. R. CIV. P. 12(b)(6). Pursuant to LR 7-

1(e), Plaintiff’s response to the motion to dismiss would be due August 29, 2022, and Omegle’s

reply in support of the motion to dismiss would be due September 12, 2022.

       3.      The parties have met and conferred regarding the Motion to Dismiss and agreed

to the following modified briefing schedule on the motion to dismiss:

               •   Omegle’s motion to dismiss will be filed August 22, 2022;

               •   Plaintiff’s response to the motion to dismiss will be filed September 12, 2022;

                   and

               •   Omegle’s reply in support of the motion to dismiss will be filed September 30,

                   2022.

SO STIPULATED AND AGREED TO BY:

Dated this 12th day of August, 2022.

FOCAL PLLC                                          SNELL & WILMER, LLP

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TO DISMISS SECOND AMENDED COMPLAINT                           1
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1   Consent for the e-signature of counsel for Plaintiff was provided via email on August 12, 2022.
STIPULATED MOTION RE BRIEFING ON MOTION
TO DISMISS SECOND AMENDED COMPLAINT                            2
